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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


JOHN ROBINSON, Individually and on Behalf of       ORDER CONSOLIDATING RELATED CASES,
All Others Similarly Situated,                     APPOINTING LEAD PLAINTIFF, AND
                                                   APPROVING SELECTION OF COUNSEL
                             Plaintiff,

       v.

SYNCHRONOSS TECHNOLOGIES, INC.,
STEPHEN G. WALDIS, KAREN L.                        Civil Action No.: 3:17-cv-02978 (FLW-LHG)
ROSENBERGER, RONALD W. HOVESPIAN,
AND JOHN FREDERICK,

                             Defendants.


DAVID COLLEGE, Individually and on Behalf of
All Others Similarly Situated,

                             Plaintiff,

       v.
                                                   Civil Action No.: 3:17-cv-03005 (FLW-LHG)
SYNCHRONOSS TECHNOLOGIES, INC.,
STEPHEN G. WALDIS, RONALD W.
HOVESPIAN, KAREN L. ROSENBERGER, and
JOHN FREDERICK,

                             Defendants.




                      (Additional captions continued on next page)




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JEFFREY L. FLACK, Individually and on Behalf
of All Others Similarly Situated,

                               Plaintiff,

       v.
                                                      Civil Action No.: 3:17-cv-04147 (FLW-LHG)
SYNCHRONOSS TECHNOLOGIES, INC.,
STEPHEN G. WALDIS, and KAREN L.
ROSENBERGER,

                               Defendants.


CITY OF ATLANTA FIREFIGHTERS’
PENSION FUND, Individually and on Behalf of
All Others Similarly Situated,

                               Plaintiff,
                                                      Civil Action No.: 3:17-cv-04326 (FLW-LHG)
       v.

SYNCHRONOSS TECHNOLOGIES, INC.,
STEPHEN G. WALDIS, RONALD W.
HOVESPIAN, KAREN L. ROSENBERGER,
AND JOHN FREDERICK ,

                               Defendants.


       THIS MATTER having been opened to the Court by Carella, Byrne, Cecchi, Olstein,

Brody & Agnello, P.C., counsel for Movant Employees’ Retirement System of the State of

Hawaii (“Hawaii ERS”) on a motion for (i) Consolidation of John Robinson et al. v.

Synchronoss Technologies, Inc., et al., 3:17-cv-02978, filed on May 1, 2017; David College v.

Synchronoss Technologies, Inc., et al., 3:17-cv-03005, filed on May 2, 2017; Jeffrey L. Flack v.

Synchronoss Technologies, Inc., et al., 3:17-cv-04147, filed on June 8, 2017; and City of Atlanta

Firefighters’ Pension Fund v. Synchronoss Technologies, Inc., et al., 3:17-cv-04326, filed on June

14, 2017, all of which are currently pending in the District of New Jersey; (ii) Appointment of

Hawaii ERS as Lead Plaintiff, pursuant to Section 21D(a)(3)(B) of the Securities Exchange

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Act of 1934 (“Exchange Act”), 15 U.S.C. § 78u-4(a)(3)(B), as amended by Section 101(a)

of the Private Securities Litigation Reform Act of 1995 (the “PSLRA”); and (iii) Approval

of the law firm of Grant & Eisenhofer P.A. as lead counsel for the Class and the law firm of

Carella, Byrne, Cecchi, Olstein, Brody & Agnello, P.C., as liaison counsel for the Class; it

appearing that there is no opposition to the motion 1; the Court having reviewed the

submissions of the parties, including the Declaration of James E. Cecchi in support Hawaii

ERS’s motion;

       IT APPEARING THAT Rule 42(a) of the Federal Rules of Civil Procedure (“Rule

42(a)”) provides that “[w]hen actions involving common questions of law or fact are pending

before the court, . . . it may order all actions consolidated,” and that the PSLRA directs that

cases should be consolidated where there is “more than one action on behalf of a class

asserting substantially the same claim or claims,” 15 U.S.C. § 78u–4(a)(3);

       IT APPEARING THAT, under the PSLRA, any member of the purported class may

move for appointment as lead plaintiff within 60 days of the publication of the notice

announcing the filing of the action, and that Movant Hawaii ERS has timely filed such a



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  On June 30, 2017, in addition to Movant Hawaii ERS, four plaintiffs or groups of plaintiffs
moved for appointment as lead plaintiff, consolidation of related cases, and selection of lead
counsel: 1) Plaintiff William Melchione; 2) Plaintiffs Tasso Araripe, Daniel Langton, John
Rastelli, Matthew Bakale Jr., and Chowdhury Ziaur Rahman (collectively “Synchronoss Investor
Group”); 3) Plaintiffs City of Atlanta Police Officers’ Pension Fund and City of Atlanta
Firefighters’ Pension Fund (collectively “Atlanta Police and Firefighters”); and 4) Plaintiff
Bhavisha Parmar. After reviewing Hawaii ERS’s submissions, all four competing plaintiffs
conceded that they do not have the largest financial interest in the relief sought. On July 18,
2017, Plaintiff Synchronoss Investor Group withdrew its motion. On July 20, 2017, Plaintiff
Bhavisha Pramar withdrew her motion. On July 24, 2017, Plaintiffs City of Atlanta Police and
Firefighters filed a Response to Competing Lead Plaintiff Motions, conceding that they did not
have the largest financial interest in the relief sought, and offering themselves as an alternative
lead plaintiff if the Court should determine that Hawaii ERS did not satisfy the requirements of
Rule 23. On July 28, 2017, Plaintiff Melchione filed a Notice of Non-Opposition to Competing
Lead Plaintiff Motions, indicating that he did not oppose, inter alia, Hawaii ERS’s motion.
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motion as a member of the purported class. 15 U.S.C. § 78u-4(a)(3)(A)(i)(II); it appearing

that, under the PSLRA, courts adopt a presumption that the “most adequate plaintiff” is the

person who: (1) filed a complaint or made a motion to serve as lead plaintiff; (2) in the

determination of the court, has the “largest financial interest in the relief sought by the class”;

and (3) who otherwise satisfies the requirements of Rule 23. 15 U.S.C. § 77z-

1(a)(3)(B)(iii)(I); it further appearing that, in the Third Circuit, the determination of whether

the movant with the largest interest in the case otherwise satisfies Rule 23 “should be

confined to determining whether the movant has made a prima facie showing of typicality and

adequacy,” In re Cendant Corp. Litig., 264 F.3d 201, 263 (3d Cir. 2001); that, in deciding

whether the movant has preliminarily satisfied the typicality requirement, “courts should

consider whether the circumstances of the movant with the largest losses ‘are markedly

different or the legal theory upon which the claims [of that movant] are based differ[ ] from

that upon which the claims of the other class members will perforce be based,’” id. at 265

(citing Hassine v. Jeffes, 846 F.2d 169, 177 (3d Cir. 1988)); that “the typicality requirement is

satisfied when the ‘plaintiff’s claim arises from the same event or course of conduct that gives

rise to the claims of other class members and is based on the same legal theory,’” In re Party

Sec. Litig., 189 F.R.D. 91, 106 (1999) (quoting Baby Neal v. Casey, 43 F.3d 48, 58 (1994));

and that, in making the threshold adequacy assessment, the court should consider whether the

movant “has the ability and incentive to represent the claims of the class vigorously, [whether

it] has obtained adequate counsel, and [whether] there is [a] conflict between [the movant’s]

claims and those asserted on behalf of the class,” In re Cendant, 264 F.3d at 265

(citing Hassine, 846 F.2d at 179);

       IT APPEARING THAT the legislative history of the PSLRA demonstrates a



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preference for institutional investors, In re Cendant, 264 F.3d at 243–44 (“The plaintiff with

the largest stake in a given securities class action will almost invariably be a large

institutional investor, and the PSLRA's legislative history expressly states that Congress

anticipated and intended that such investors would serve as lead plaintiffs”);

       IT FURTHER APPEARING THAT, under the PSLRA, the task of selecting lead

counsel is given to the most adequate plaintiff, subject to the approval of the court, 15 U .S.C.

§ 78u–4(a)(3)(B)(v), and the court must make “an independent evaluation of, among other

considerations, the effectiveness of proposed class counsel to ensure the protection of the

class.” In re Milestone Scientific Sec. Litig.,187 F.R.D. 165, 176 (D.N.J. 1999);

       THE COURT FINDS:

       1. John Robinson et al. v. Synchronoss Technologies, Inc., et al., 3:17-cv-02978;

           David College v. Synchronoss Technologies, Inc., et al., 3:17-cv-03005; Jeffrey L.

           Flack v. Synchronoss Technologies, Inc., et al., 3:17-cv-04147; and City of Atlanta

           Firefighters’ Pension Fund v. Synchronoss Technologies, Inc., et al., 3:17-cv-

           04326, each involve factually and legally similar, class action claims on behalf of

           class members who purchased publicly traded securities of Defendant

           Synchronoss, during substantially overlapping class periods, 2 in reliance on the

           same allegedly materially false and misleading statements and omissions by

           Defendant Synchronoss. Moreover, there is no dispute that consolidation is



2
  The Robinson complaint alleges a Class Period from December 6, 2016 through April 26, 2017
(both dates inclusive). The College complaint alleges a Class Period between May 5, 2016 and
April 27, 2017, inclusive. The Flack complaint alleges a Class Period between December 6, 2016
and April 26, 2017, both dates inclusive. The Atlanta Firefighters complaint alleges a Class
Period between October 28, 2015 and April 26, 2017. Movant Hawaii ERS proposes to file an
Amended Complaint that encompasses the longest class period, from October 28, 2015 to April
27, 2017, and has calculated its losses based on that period.
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         appropriate. The matters therefore should be consolidated.

      2. It is undisputed that Hawaii ERS is alleged to have suffered the greatest loss, and

         therefore to possess the greatest financial interest in this matter, in the amount of

         approximately $2,467,510. Hawaii ERS Certification, Cecchi Decl., at Ex. 1.

      3. Hawaii ERS has made a prima facie showing of typicality under Rule 23. Hawaii

         ERS’s alleged injuries arise out of the same events alleged in the Robinson,

         College, Flack, and Atlanta Firefighters complaints; Hawaii ERS acquired

         Synchronoss stock at prices allegedly inflated by Synchronoss’s allegedly false

         and misleading statements and suffered losses similar to those of other putative

         class members. Hawaii ERS’s claims rely on the same legal theories that are

         alleged in the four actions’ Complaints.

      4. Hawaii ERS also satisfies the adequacy requirements of Rule 23. Hawaii ERS,

         with such a large financial loss, has a strong incentive to prosecute this

         action. See In re Milestone Scientific Sec. Litig., 183 F.R.D. 404, 416 (D.N.J.

         1998). Hawaii ERS has the necessary resources and legal sophistication to pursue

         the action. See In re Cendant, 264 F.3d at 268. Hawaii ERS has a large and

         dedicated staff with the legal, financial, and organizational expertise to effectively

         oversee this proceeding and direct the actions of lead counsel. See Hawaii ERS

         Certification, Cecchi Decl., at Ex. 1. Hawaii ERS’s interests appear to be aligned

         with the rest of the class; there are no facts which indicate any conflicts of interest

         between Hawaii ERS and other class members. Finally, Hawaii ERS has chosen

         Grant & Eisenhofer as proposed Lead Counsel, and Carella Byrne as Liaison

         Counsel, for the Class.



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       5. Hawaii ERS seeks approval of counsel Grant & Eisenhofer as Lead Counsel, and

           Carella Byrne as Liaison Counsel for the Class. By reviewing the firms’

           biographies, the Court is satisfied that the proposed lead counsel and liaison

           counsel are competent to represent Hawaii ERS and the class. Grant & Eisenhofer

           has served or is currently serving as lead or co-lead counsel in multiple complex

           securities fraud cases. See Grant & Eisenhofer’s Firm Biography, attached as Ex. 4

           to the Cecchi Decl. Carella Byrne has extensive experience in complex litigation,

           including class actions involving federal securities law. See Carella Byrne’s Firm

           Biography, attached as Ex. 5 to the Cecchi Decl. Furthermore, the plaintiffs in the

           four related actions, and competing movants, do not dispute the competency of

           lead and liaison counsel. Accordingly, the Court approves Hawaii ERS’s selection

           of counsel.

Accordingly, for the reasons stated above and for good cause shown;

       IT IS, this 5th Day of September, 2017,

       ORDERED that Hawaii ERS’s Motion to Appoint Lead Plaintiff, for Approval of

Selection of Counsel, and for Consolidation of Related Actions [ECF No. 10] is GRANTED;

       ORDERED that John Robinson et al. v. Synchronoss Technologies, Inc., et al., 3:17-cv-

02978; David College v. Synchronoss Technologies, Inc., et al., 3:17-cv-03005; Jeffrey L. Flack

v. Synchronoss Technologies, Inc., et al., 3:17-cv-04147; and City of Atlanta Firefighters’

Pension Fund v. Synchronoss Technologies, Inc., et al., 3:17-cv-04326, are hereby consolidated

for all purposes and shall be referred to in this Order as the “Consolidated Actions”;

       ORDERED that this Order shall apply to the Consolidated Actions and to any case that

is subsequently filed in this Court that relates to the same subject matter as the Consolidated



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Actions;

       ORDERED that every pleading in the Consolidated Actions shall bear the following

caption:

   UNITED STATES DISTRICT COURT
   DISTRICT OF NEW JERSEY
   ___________________________________
                                       :             Civil Action No. 17-2978 (FLW)(LHG)
   IN RE SYNCHRONOSS                   :
   TECHNOLOGIES, INC., SECURITIES      :             CLASS ACTION
   LITIGATION                          :
   ___________________________________ :             [TITLE OF DOCUMENT]
                                       :
   THIS DOCUMENT RELATES TO:           :
                                       :
   [ALL ACTIONS]                       :
   ___________________________________ :

       ORDERED that the Employees’ Retirement System of the State of Hawaii is hereby

appointed as Lead Plaintiff, pursuant to Section 21D(a)(3)(B) of the Exchange Act;

       ORDERED that the law firm Grant & Eisenhofer P.A. is hereby appointed lead counsel

for the Class, and the law firm of Carella, Byrne, Cecchi, Olstein, Brody & Agnello P.C. is

hereby appointed as liaison counsel for the Class;

       ORDERED that the motions for appointment as lead plaintiff and selection of lead

counsel of Plaintiff Synchronoss Investor Group [ECF No. 8] and Plaintiff Bhavisha Pramar

[ECF No. 11] are hereby deemed to have been withdrawn;

       ORDERED that the motions for appointment as lead plaintiff and selection of lead

counsel of Plaintiff William Melchione [ECF No. 5] and Plaintiff Atlanta Police and

Firefighters [ECF No. 9] are hereby denied;

       ORDERED that Lead Plaintiff Hawaii ERS shall file an Amended Class Action

Complaint within thirty (30) days of the date of this Order; Defendants Synchronoss

Technologies, Inc., Stephen G. Waldis, Ronald W. Hovespian, Karen L. Rosenberger, and John
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Frederick (“Defendants”) shall answer or move to dismiss the Amended Class Action

Complaint within sixty (60) days of the filing of the Amended Complaint; in the event that

Defendants respond to the Complaint or Amended Complaint by motion, Lead Plaintiff shall

file any opposition within forty-five (45) days following the date such motions are filed;

Defendants shall file any reply papers within twenty (20) days following the date Lead Plaintiff

files any opposition papers.



                                                                 /s/ Freda L. Wolfson
                                                           The Honorable Freda L. Wolfson
                                                             United States District Judge




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